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Pro Se 1 (Rev. 12/16) Complaint for a Civil Case

UNITED STATES DISTRICT COURT

for the

Northern District of Illinois

Tipton D. Sholes et al.
*see attached
Class action Complaint

1:20-cv-00333

Judge Matthew F. Kennelly

 

Plaintiffis)
(Write the full name of each plaintiff who is filing this complaint.
If the names of all the plaintiffs cannot fit in the space above,
please write ‘‘see attached” in the space and attach an additional
page with the full list of names.)

- V-

Northwestern University,
ACGME,
Hospitals* See attached

 

Defendant(s)
(Write the full name of each defendant who is being sued. If the
names of all the defendants cannot fit in the space above, please
write “see attached” in the space and attach an additional page
with the full list of names.)

COMPLAINT FOR A CIVIL CASE

L. The Parties to This Complaint
A. The Plaintiff(s)

Nee eee eee Oe ae es

Cas Magistrate Judge Sheila M. Finnegan

Jury Trial: (check one) [V] Yes [No

 

tICEEVED
JAN 16 2020

THOMAS G. BRUTON
CLERK, U.S. DISTRICT COURT

Provide the information below for each plaintiff named in the complaint. Attach additional pages if

needed.
Name
Street Address
City and County
State and Zip Code
Telephone Number
E-mail Address

B. The Defendant(s)

Provide the information below for each defendant named in the complaint, whether the defendant is an
individual, a government agency, an organization, or a corporation. For an individual defendant,
include the person's job or title (ifknown). Attach additional pages if needed.

Tipton D. Sholes

 

234 East Vineland Rd.

 

Augusta, Richmond County

 

Georgia, 30904

 

770 540-9638

 

Tsholes43 @gmail.com

 

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Defendant No. 1
Name
Job or Title (if known)
Street Address
City and County
State and Zip Code
Telephone Number
E-mail Address (if known)

Defendant No. 2
Name
Job or Title (if known)
Street Address
City and County
State and Zip Code
Telephone Number
E-mail Address (if known)

Defendant No. 3
Name
Job or Title (if known)
Street Address
City and County
State and Zip Code
Telephone Number
E-mail Address (if known)

Defendant No. 4
Name
Job or Title (if known)
Street Address
City and County
State and Zip Code
Telephone Number
E-mail Address (if known)

Northwestern University--Karl Bilimoria

 

 

Origin of Research

 

633 Clark Street

 

Chicago/Evanston,

 

Illinois, 60208

 

(https://www.northwestern.edu)

 

k-bilimoria@northwestern.edu

 

Accreditation Council for Graduate Medical Education

 

Sets standards for US graduate medical education

 

401 North Michigan Avenue, Suite 2000

 

Chicago, Cook

 

Illinois, 60611

 

312.755.5000

 

legal@acgme.org

 

Hospitals* See attached

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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Pro Se 1 (Rev. 12/16) Complaint for a Civil Case

I.

Basis for Jurisdiction

Federal courts are courts of limited jurisdiction (limited power). Generally, only two types of cases can be
heard in federal court: cases involving a federal question and cases involving diversity of citizenship of the
parties. Under 28 U.S.C. § 1331, a case arising under the United States Constitution or federal laws or treaties .
is a federal question case. Under 28 U.S.C. § 1332, a case in which a citizen of one State sues a citizen of
another State or nation and the amount at stake is more than $75,000 is a diversity of citizenship case. Ina
diversity of citizenship case, no defendant may be a citizen of the same State as any plaintiff.

What is the basis for federal court jurisdiction? (check all that apply)
[ ]Federal question Diversity of citizenship

Fill out the paragraphs in this section that apply to this case.
A. If the Basis for Jurisdiction Is a Federal Question

List the specific federal statutes, federal treaties, and/or provisions of the United States Constitution that
are at issue in this case.

Code of Federal Regulations -Title 45 Public Welfare

Department of Health and Human Services

Part 46

Protection of Human Subjects

 

B. If the Basis for Jurisdiction Is Diversity of Citizenship
l, The Plaintiff(s)

a. If the plaintiff is an individual
The plaintiff, (name) Tipton D. Sholes et al. , 1s a citizen of the

 

State of (name) Georgia

 

b. If the plaintiff is a corporation
The plaintiff, (name) , 1S incorporated

 

under the laws of the State of (name) ,

 

and has its principal place of business in the State of (ame)

 

(If more than one plaintiff is named in the complaint, attach an additional page providing the
same information for each additional plaintiff)

 

2. The Defendant(s)
a. If the defendant is an individual
The defendant, (name) , 1s acitizen of
the State of (name) . Orisa citizen of

 

(foreign nation)

 

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Ill.

IV.

b. If the defendant is a corporation

The defendant, (name) Northwestern University/ACGME etal. > iS incorporated under
the laws of the State of (name) _|I\inois, Majority of States , and has its

 

 

principal place of business in the State of (name) _ |llinois

 

Or is incorporated under the laws of (foreign nation)

 

and has its principal place of business in (name) _ United States, Illinois

 

(If more than one defendant is named in the complaint, attach an additional page providing the
same information for each additional defendant.)

3. The Amount in Controversy

The amount in controversy—the amount the plaintiff claims the defendant owes or the amount at
stake—is more than $75,000, not counting interest and costs of court, because (explain):

True

 

Statement of Claim

Write a short and plain statement of the claim. Do not make legal arguments. State as briefly as possible the
facts showing that each plaintiff is entitled to the damages or other relief sought. State how each defendant was
involved and what each defendant did that caused the plaintiff harm or violated the plaintiff's nghts, including
the dates and places of that involvement or conduct. If more than one claim is asserted, number each claim and
write a short and plain statement of each claim in a separate paragraph. Attach additional pages if needed.

NCT 02050789 - 1Negligence Per se, violates statutes in place for ethical research. Statutes in place designed
precisely to prevent the type of harm lack of informed consent can result, in clinical research involving people
and families.

Lifting of the speed limit or shift length for residents, without informed consent, without benefit to recruits
exposing them to forseeable emotional harm hour restrictions put in place to prevent. Conducting a clinical
study without informed consent, without a benefit sought, exposing people to known harm- in violation of statute
is breach of duty by all instiutions that enrolled in this study, breach of duty by IRBs, breach of duty-negligence .

Relief

State briefly and precisely what damages or other relief the plaintiff asks the court to order. Do not make legal
arguments. Include any basis for claiming that the wrongs alleged are continuing at the present time. Include
the amounts of any actual damages claimed for the acts alleged and the basis for these amounts. Include any
punitive or exemplary damages claimed, the amounts, and the reasons you claim you are entitled to actual or
punitive money damages.

Nominal damages or compensated for time in study for each of the uninformed physcians who matched into this
Clincial trial. This is to send out notice and deter studies like this from being conceived, implemented, and
executed without resistance that liability protections under law make real.

In system today, studies conducted to generate data to overturn efforts to effect physiologic and psychiatric
burnout, working in gears in work settings that consistently yields long term damage. That is preventable, and
implemented like seat belts. Not accepted, wasnt legal, they are accountable to law and are not immune from

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2. Notified, given option to file for damages if damage occured whether physical injury, psychological impact, lost
earning capacity, adverse outcomes in career training.

3. Punitive damages should be significant and relevant for parties, to deter.

4. Hour changes brought back into what is conceivably safe and reasonable.

Certification and Closing

Under Federal Rule of Civil Procedure 11, by signing below, I certify to the best of my knowledge, information,
and belief that this complaint: (1) is not being presented for an improper purpose, such as to harass, cause
unnecessary delay, or needlessly increase the cost of litigation: (2) is supported by existing law or by a
nonfrivolous argument for extending, modifying, or reversing existing law; (3) the factual contentions have
evidentiary support or, if specifically so identified, will likely have evidentiary support after a reasonable
opportunity for further investigation or discovery; and (4) the complaint otherwise complies with the
requirements of Rule 11.

A. For Parties Without an Attorney
I agree to provide the Clerk’s Office with any changes to my address where case-related papers may be

served. I understand that my failure to keep a current address on file with the Clerk’s Office may result
in the dismissal of my case.

Date of signing: 01.13.2019

Signature of Plaintiff Jefe — —

Printed Name of Plaintiff Tipton D. Sholes M.D

 

 

B. For Attorneys

Date of signing:

 

Signature of Attorney

 

Printed Name of Attorney

 

Bar Number

 

Name of Law Firm
Street Address
State and Zip Code

 

 

 

Telephone Number
E-mail Address

 

 

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1. Tipton Sholes is individual residing in Georgia.
2. Participated in clinical trial July 2015 through July 2016 at the University of Tennessee
Knoxville General Surgery program.
3. Learned of participation in the "First Trial" in 2017. Learned of study data released to pro-
gram director at the Medical College of Georgia Anesthesiology, and learned of the study by
reading article on it in 2017.
4. Plaintiff was not aware of study while participating in it, it caused harm to him, impacted ca-
reer in adverse ways, impacted family in adverse ways, caused damages that are relevant, proxi-
mate and would not have occurred but for defendants impact in plaintiff's life.
5. Defendants are the University of origin implementing this research trial. The institution that
designed it, processed it, advertised it to hospital programs, and successfully enrolled 152 hospi-
tals into participate.

Negligence Per se
6. Code of Federal Regulations Title 45 Department of Health and Human Services Part 46 Pro-
tection of human subjects. This breaks down into Subparts A-E. They lay out basic Health and
Human service policy for protection of human research subjects. They establish the definition of
informed consent, institutional review boards, and relevant topics. Policy that is in place to pro-
tect people from harm. Violations of these regulations cause harm to plaintiff and class of people.

This law is written to prevent this study from occurring, and to prevent harm to people. In law,

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this establishes negligence--per se. breach of the duty of care defined in the regulations caused
harm to plaintiff is the cause.
7. Duty to participants enrolled and processed through the First trial is established by contracts,
by enrollment into clinical research, and at no point is waived by "resident" status. They are pa-
tients to researchers conducting a research trial, and they are employees of the hospitals.
8. This employer-employee, researcher-patient, Teacher-student duty of care of breached by con-
ducting human research without informed consent. This duty of care is established by the ethical
confines of patient autonomy and further defined in the importance of transparent offers of em-
ployment contracts that are binding agreements upon centralized matching.
9. Gathering data efficiently never supersedes the ethics of medicine. Human research without
informed consent is the definition of unethical conduct.
10. Collective recognition of physical and psychiatric.burnout in the population of medical
physcicians along with errors in patient care led to investigation into the matter and implementa-
tion of work hour restrictions in 2011.
11. These work hour restrictions capped shift length to 16 hours for PGY1 and 24hrs for PGY2.
12. In the Trial a less restrictive flexible duty-hour shift of unlimited duration; these shifts could
reach 34 consecutive hours or more, a shift duration that has been shown to be carful to the
health and well-being of residents and patients.
13. The study lifted the requirement to document hours and report these hours to a central author-
ity.
14. The serious health risks of long medical resident duty hour shifts were recognized by the In-

stitute of medicine in a 2009 report and this along with collective attention to the issue of well-

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documented incidence of motor vehicle crashes for doctors leaving work, unusually high number
of percutaneous exposure to blood-borne pathogens( needle sticks), depression, suicide, and poor
obstetric outcomes led to work hour caps in this non-unionized work force.

15. Breach of duty of care is intuitive. The trial violates four of four ethics of medicine.

- Patients and study participants retain right to be informed and must be informed in order to al-
low them to weigh the benefits of a study, a contract, a procedure against the benefits of partici-
pation in a clinical study, signing a contract, or undergoing a procedure by doctors in study relat-
ed to finding boundary of sleep exhaustion and outcomes in surgical operating-- as a trainee.
Breach of employee-resident and patient right to autonomy. Breach of informed consent is mal-
practice and injuries to person are recognized as malpractice as alternative theory of recovery if
negligence per se is deemed insufficient.

-i. Beneficence is the ethical requirement to conduct research with benefits that are for
good cause. This study does not meet the requirement of do good work. It is circumstantial to
posit, it is conceived to overturn work hour restrictions implemented in 2011 in order to further
gain the spread of profits per resident physician. Though, lifting work hour caps to unreasonable-
to establish the impact on injury and death ( morbidity and mortality) of patients operated on is
benefit less. The hypothesis of the study is that outcomes will not be significantly worse, that is -
ii patient outcomes after surgery will see only modest increase.in morbid and mortality. The sec-
ondary prediction is the the surgical residents In bound contracts will not be much less satisfied
than already dissatisfied states of work hours, compensation, terms and conditions of their posi-

tions.

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iii-- Non-malfeasance--Do no harm, unless benefits outweigh the risk of exposure to
harm.

iv Justice- Residents are humans, checking off non-human research is unjust. This al-
lowed study to pass through checkpoints in system without requiring informed consent of partic-
ipants. Justice lends- that increasing the work hours decreasing hourly pay, exposing them to
harmful work conditions, mining for genetic predispositions to burnout once burnout expressed
in population per individual, conflict of interest implicit in work reporting, without informing
these people of the new terms of contracts is unjustified. Drafting the majority of participants in
the 48 hour window of unmatched residents who are "scrambling" is not reasonable. To forgo
requirements of human research to make it possible to collect data to justify overturning work
hour protections is never satisfied by capitalizing on a vulnerable population of people.

- I would not have signed into this study had I known the terms, no one would. This is the basis
of forgoing informed consent-- and we believe it is relevant to file civil complaint in the federal
court.

16. Violation of the four ethical pillars of medicine is malpractice.

17. Failure to inform patients undergoing surgery of participation in the research trial is malprac-
tice.

18. Failure of the doctors whom drafted the residents into the clinical trial without informed con-
sent, who directly benefit off the goal of the study is medical malpractice and breach of fiduciary
ethical and professional duty of teacher/physician/and researcher.

19. Hospitals are required to have institutional review boards comprised of members able to

evaluate research and determine wheterh it is reasonable or unreasonable.

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20. Justficiation of a clinical study on people and checking off not human research-- does not jus-
tify foregoing informed consent.

21. Northwestern University waived the informed consent for all hospitals but allowed the hospi-
tals to determine by their own institutional review boards need for informed consent.

22. Each of the hospitals enrolled in the study.

23. Cab vouchers were offered to facilitate residents arriving home safely.

24. This did not mitigate all the foreseeable harm to the people nor effects the patients operated
on.

25. A parallel study conducted by the University of Michigan collected DNA samples from all of
the matched residents before beginning trial. The purpose of the study was to link genes to de-
pression.

26. In response to this study not being flagged, Institutions implemented the "[Compare Trial" on

internal medicine residents to gather data to lift work hour caps. This study is included.

27. This is a civil complaint charging Northwestern University, The accreditation council of
graduate medical education and each of the hospitals in this study with conduct that falls
below the standard established by safe and ethical medicine, below the standard estab-
lished by law for protection of human subjects, below the reasonable standard established
in healthcare. Surgeons understand the concept of informed consent and whether reckless
indifference or willful disregard, justification of implementation of work hours without
consent of residents does not justify the lifting 4 year later without consent, this logic will

not do.

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i i rone ca i li

We request attorney to represent the case.
This is class action complaint* Substantiating this group complaint-->
Resident survey data collected in 2016-2017 from the participants in the study had several multi-
ple choice questions at the end of the year. They were not fill in the blank. Topics that emerged
by check boxes.
Gender differences in residentnt outcomes.
Psychiatric burnout and physiological wellbeing among residents.
Coercion and the decision to stay longer shifts within the flexible arm
Needle stick and motor vehicle accident rates among US general Surgery residents.
Resident preparation (readiness) and the effects of psychiatric burnout and physical exhaustion
on wellbeing.
Attached is the study as supplement A. Attached is a complaint from internal medicine physi-
cians demonstrating attempt to gain review of working conditions of medical residents. This is
identical to surgical study branch. These two studies laid foundation for change of hour policy
back to pre-2011 protections. Attached is the Belmont report. Attached is the letter demonstrating
parallel study by University of Michigan and DNA-Depression and underscores absurdity if that

is grossly unreasonable conduct, in blacks law dictionary.

Kind of like the preamble of the constitution, or a tangent of the football quote from Vince Lom-
bardi. Individual commitment to the group effort makes healthcare better. We the physicians in
order to form a more perfect healthcare, deliver the best care to our patients- bound by the stan-

dards of reasonable care and what is possible as time allows, to ensure healthcare in our commu-

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nities of quality, to provide for health of those who need us to defend their health, to secure the
blessings of life in this country for our patients, profession of which we are privileged to be
member of, and promote the development of the physicians in posterity, I put this forth on behalf
of our class of physicians. The American physicians agree that is relevant. Ethical research de-
pend on the duty of care of which this study points to need for the courts to send a message, this
is not acceptable and not tolerated well even when a few, 152 of the nations leading academic
power institutions or all of them-- agree that profit is more valuable than healthcare ethics.
When common sense is overturned by profits at the expense of health for the employees and pa-
tients, it demands a reminder that Tort law applies when creative intellect or misfeasance allows
this to push through the system unopposed. We request of the court to re-establish by judgment,

duty of care remains.

This is a class action complaint* and materially meets requirements of Rule 23 of Federal

Rules of Civil Procedure.
Prayer for relief on Form 1 Titled Civil Complaint.

We defer to Northwestern University to identify the interventional branch of hospitals and

copy forward this complaint.

Thank you,

Tipton D. Sholes M.D

234 East Vineland Rd.
Augusta Georgia, 30904

Tuesday, January 14, 2020

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(770) 540-9638
Tsholes43@gmail.com

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